                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   LYNCHBURG DIVISION

  JOHN DOE,
                 Plaintiff,

  v.                                                    Case No.: 6:14 – cv00052 - NKM


  WASHINGTON AND LEE UNIVERSITY,
           Defendant.


         MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                        PRELIMINARY INJUNCTION


         Defendant, Washington and Lee University (“W&L”), by counsel, files this brief in

  opposition to plaintiff’s application for a preliminary injunction (“PI”). Plaintiff was expelled

  from W&L on November 20, 2014. Complaint, ¶4. Plaintiff did not file this lawsuit until

  Saturday, December 13, 2014, filed a Motion for a Temporary Restraining Order and failed to

  schedule a hearing on the same, and now seeks a preliminary injunction to reverse W&L’s

  decision to expel him, and to force his reinstatement during the pendency of the underlying

  action. Such relief is inequitable, inappropriate and contrary to the law.


         Plaintiff is seeking a mandatory injunction to force W&L to reinstate him after it has

  been determined through substantial investigation, and hearing procedures that were developed

  to be consistent with Title IX regulations and U.S. Department of Education guidelines, that he

  was responsible for nonconsensual sexual intercourse with a female student. This is not an

  appropriate action for a court to take. It would require the court to usurp the judgment, authority

  and discretion of professional higher education administrators and authorized university officials

  who are specifically trained in Title IX compliance and investigation, and to assert its own




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  opinion in place of theirs. Plaintiff recognizes that courts have been reluctant to engage in such

  usurpation of authority, and so to bolster his arguments, he provides a verified complaint that is

  replete with factual misstatements that are contradicted even by the exhibits he attached to the

  complaint, and which defendant further corrects by the declaration of Lauren Kozak, W&L’s

  Title IX Coordinator, which is attached hereto as Exhibit 1, and by the testimony of witnesses

  W&L will produce at the hearing scheduled in this matter. Further, plaintiff provides only a

  recitation of the evidence in his favor, ignoring the evidence before the Student Faculty Hearing

  Board (“SFHB”) that led the SFHB to conclude that plaintiff was responsible for the acts of

  which he was charged. 1


                                          FACTUAL BACKGROUND


           This matter came to the attention of W&L administrators on October 13, 2014, when a

  complainant identified in plaintiff’s complaint as Jane Doe contacted W&L’s Title IX

  Coordinator, Lauren Kozak, to report that she had been sexually assaulted by plaintiff.

  Complaint, Exhibit B. She did not want to proceed with a formal investigation at the inception,

  just to bring the incident to the administration’s attention. Id. On October 31, 2014, Jane Doe

  informed Ms. Kozak that she wanted to move forward with a formal investigation. Id. Ms.

  Kozak, a trained investigator, 2 along with Jason Rodocker, also a trained investigator, conducted

  the investigation into complainant’s allegation. Id.



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    W&L’s Interim Sexual Harassment and Misconduct Policy uses the term “responsible” rather than “guilty” to
  reflect that these processes are administrative and disciplinary, not a criminal case, so using criminal law
  terminology would be inappropriate. See Complaint, Exhibit A, pps. 40-43.
  2
    Contrary to allegations in plaintiff’s complaint, Ms. Kozak has received extensive training regarding W&L’s Interim
  Sexual Harassment and Misconduct Policy, other University policies and procedures relevant to sexual misconduct,
  and relevant state and federal laws. She has attended a sexual misconduct investigator certification course. She
  has participated in at least 12 additional formal trainings. She has read and continues to read numerous articles on
  best practices in investigation and Title IX Coordinator responsibilities. See Kozak Declaration, Exhibit 1, ¶8.

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         Jane Doe’s charge against plaintiff was that he had engaged in sexual intercourse with her

  without effective consent. Id. That is defined under W&L’s Interim Sexual Harassment and

  Misconduct Policy as “nonconsensual sexual intercourse.” Id.


         W&L has adopted a clear and thorough policy for investigating complaints alleging

  sexual misconduct. Complaint, Exhibit A. That policy complies with the regulations promulgated

  by the United States Department of Education in furtherance of Title IX, and was developed after

  extensive study. Kozak Declaration, ¶7. The standard of proof for whether a student has violated

  W&L’s Interim Sexual Harassment and Misconduct Policy is “preponderance of the evidence,”

  again consistent with Department of Education requirements. Complaint, Exhibit A. It is not the

  criminal law standard of “beyond a reasonable doubt.”


         In accordance with W&L’s Interim Sexual Harassment and Misconduct Policy, after Jane

  Doe’s allegations were reported, Ms. Kozak and Mr. Rodocker conducted a thorough

  investigation that began with an interview with Jane Doe on October 31, 2014. Complaint,

  Exhibit B, pps 2-5. The report reflects that Jane Doe stated to plaintiff on the night of the

  incident that “I thought I said I didn’t want to have sex.” Id. Jane Doe went on to say that “… he

  just kept going and didn’t make any kind of response to her question. When he didn’t stop and

  continued to penetrate her, she told him ‘Can you at least put on a condom?’ He didn’t put on a

  condom and didn’t respond to that statement. She laid there silent while he finished. She didn’t

  move or engage.” Id.


         Ms. Kozak’s interview of complainant Jane Doe explains why it took complainant

  several months to process the events and come to the conclusion that she had been sexually

  assaulted, and to bring that complaint to University administration. Complaint, Exhibit B. During


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  that time, she engaged in counseling with two counselors and struggled with conflicting

  emotions about the event. Id. Mr. Rodocker and Ms. Kozak then interviewed the plaintiff on

  November 4, 2014. Id. Plaintiff’s description of the events of the night in question was in many

  ways consistent with that of the complainant, although in his version of the events he stated “She

  didn’t say anything during intercourse that suggested that she wanted to stop or wasn’t into

  having sex. In contrast, the entire time she was really engaged.” Id. They also explored the

  complainant and plaintiff’s post-event interactions leading up to the time of the complaint. See,

  Interview with Respondent 3, Exhibit B, pp. 5-8.


           The investigators then did a second interview of Jane Doe to determine whether she

  agreed with plaintiff’s version of the events. Id. She denied a number of statements made by

  plaintiff, and she stated that “She told him that she didn’t want to have sex with him.” Id. She

  also stated that she did not remember specific things about that evening, but had a very clear

  memory about other things. Id. Credibility determinations were a part of the administrative

  process, and were necessary to attempt to develop a better understanding of the events.


           Ms. Kozak and Mr. Rodocker went on to interview a number of witnesses identified by

  both parties in order to better gauge credibility and to collect all relevant facts. Id. They

  interviewed both counselors who had worked with Jane Doe, and conducted seven other

  interviews of students who had been identified as having relevant information by either of the

  parties. See Exhibit B, pp. 10-13.


           Based upon their investigation, the investigators made the following findings of fact and

  analysis. Complaint, Exhibit B, pps. 14-15. They found that it was undisputed that penetration

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   Plaintiff will also be referred to as “respondent” herein when he is identified in the context of the administrative
  hearing process.

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  occurred. Id. On the question of effective consent, they first noted that, “To find consent the

  Hearing Panel must determine whether there were mutually understandable words and/or actions

  that clearly indicated a willingness to engage freely in sexual activity.” Id, They then noted that

  both parties had engaged in mutually agreed-upon sexual activity in the beginning of their

  encounter. Id. They noted that complainant agreed that she consented to everything leading up to

  penetration. Id. They noted that the issue is whether complainant consented to the act of

  penetration. Id. On that question, they noted that complainant’s position is that she did not give

  consent for sexual intercourse. Id. They noted that “When respondent and complainant got back

  to his room she told him that she didn’t want to have sex with him that night.” Id. They further

  noted that when he started trying to have sex with her, she stated that she said to him, “I thought

  I said I didn’t want to have sex.” She stated that when penetration started she did not move or

  engage. She just laid there. He was on top the entire time during intercourse according to her. Id.


         They also noted all of the reasons that plaintiff felt that he did have consent for sexual

  intercourse. Id. Recognizing the dispute of facts between the parties, their conclusion was that

  “The Hearing Panel will need to determine by preponderance of the evidence whether there was

  consent for sexual intercourse.” Id at 15. They did not suggest or predetermine the answer to

  that question in that report, which was for the Hearing Panel to decide.


         In accordance with W&L’s Interim Sexual Harassment and Misconduct Policy, a Hearing

  Panel made up of members of the Student Faculty Hearing Board (“SFHB”) was convened for

  November 21, 2014. Complaint, ¶ 64. Contrary to plaintiff’s allegations in the complaint,

  W&L’s Interim Sexual Harassment and Misconduct Policy expressly provides that each party

  may have an honor advocate or other member of the university community and/or a lawyer of his

  or her choice advise him or her at such a panel hearing. Complaint, Exhibit A. Honor advocates

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  are individuals trained to assist the parties with regard to procedural issues in these cases and are

  made available at no cost to the party. Plaintiff elected to use honor advocates to support him

  during this process and was told he could also have as his legal advisor outside counsel. Kozak

  Declaration. He did in fact have the support of several honor advocates and an outside attorney at

  the SFHB hearing. Id.


         The SFHB at W&L is composed of four student members, four faculty members and one

  administrator. See Complaint, Exhibit A, p. 40. The administrator serves as Chair of the SFHB

  and is appointed by the Vice President for Student Affairs. Id. The Chair manages the SFHB,

  administers the hearing process and presides over the hearing, but does not participate in the

  deliberations and does not vote on matters before the SFHB. Id. All SFHB members are trained

  each fall and during each year on the university policy and procedures, including the need for

  absolute impartiality and equity throughout the process. Id. Following a Notice of Charge, the

  SFHB Chair selects and convenes a Hearing Panel composed of four SFHB members; two

  student members and two faculty members. Each member of the Panel must be neutral and

  impartial. Id.


         W&L’s Interim Sexual Harassment and Misconduct Policy requires that hearings be held

  in a timely manner. Id. Assuming no extraordinary circumstances, the hearing should take place

  within 14 calendar days of issuance of the charging document. Id. That timeline was complied

  with here.


         At the hearing, the complainant and the respondent are both present, although a privacy

  screen is erected between the two unless both parties request otherwise. Complaint, ¶65 and

  Exhibit A. Members of the Hearing Panel are given the investigative report, may question the


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  complainant and the respondent, may question the investigators, and may examine any related

  information or evidence as presented by the parties. Complaint, Exhibit A. The Chair also may

  accept written questions from the respondent, complainant or advisors for consideration by the

  Hearing Panel. Id. That occurred here. Complaint, ¶65..


         If the respondent is found “responsible,” as occurred here, the Hearing Panel imposes a

  sanction designed to eliminate the misconduct and to remedy its defects. Complaint, Exhibit A.

  For non-consensual sexual intercourse, the only sanction permitted is dismissal. Complaint,

  Exhibit A, p. 42.


         Written notice is given to the parties as soon as a finding is reached. Id. Either party may

  appeal the outcome of the matter to the University Board of Appeals within 72 hours of receipt

  of the written Hearing Panel report. Id.


         All procedures as set out in W&L’s Interim Sexual Harassment and Misconduct Policy

  were followed to the letter. See, Declaration of Lauren Kozak and Complaint, Exhibit A. The

  process afforded a prompt, thorough and fair procedure to reach an administrative decision on

  the question whether the plaintiff was responsible for the conduct alleged by the complainant. In

  this matter, the plaintiff was found responsible, unsuccessfully appealed to the University Board

  of Appeals, and now asks this Court to interpose its judgment and set aside the findings and

  actions of the W&L Student Faculty Hearing Board and University Board of Appeals.


                                             ARGUMENT


         The Court should not issue a preliminary injunction in this matter. Plaintiff’s entire case,

  including his request for an injunction, is predicated on his argument that his version of the facts


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  is more credible than the complainant’s version and, therefore, the Student Faculty Hearing

  Board was wrong in its decision. The plaintiff is asking the Court to substitute its opinion about

  the weight of the evidence, usurp the authority of the W&L investigators, Student Faculty

  Hearing Board and University Board of Appeals, and reach a contrary conclusion to that reached

  by the properly promulgated and authorized University officials. This is an extraordinary request

  for relief, and must be denied.


         A. Legal Standard for Preliminary Injunction.


         The defendant agrees with the plaintiff that the preliminary injunction standard is that

  which was spelled out by the United States Supreme Court in Winter v. Natural Resources

  Defense Counsel, Inc., 555 U.S. 7, 129 S.Ct. 365, 172 L.E. 2d. 249 (2008). Defendant will not

  repeat the four factors in this Memorandum of Law since they are correctly stated in plaintiff’s

  brief, but will analyze the facts in light of each of the four factors below.


         B. Plaintiff Is Not Likely to Succeed on the Merits.


         The judiciary has a well-established and long-standing tradition of deferring to the

  judgment and expertise of higher education administrators except in cases of the overt abuse of

  authority or arbitrary and capricious institutional actions. Regents of the University of Michigan

  v. Ewing, 474 U.S. 214, 106 S.Ct. 507, 88L.Ed. 2d 523(1985); Board of Curators of the

  University of Missouri v. Horowitz, 435 U.S. 78, 98 S.Ct. 948, 55L.Ed. 2d 124 (1978). In Ewing,

  the Supreme Court upheld an institutional decision to dismiss a student, reasoning that the focus

  of the student’s argument was that the University had misjudged his ability to remain in a special

  medical education program. The Court, in holding for the University, upheld judicial deference

  to academic decisions, stating:

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         When judges are asked to review the substance of a genuinely academic decision,
         such as this one, they should show great respect for the faculty’s professional
         judgment. Plainly, they may not override it unless it is such a substantial
         departure from accepted academic norms as to demonstrate that the person or
         committee responsible did not actually exercise professional judgment.

  Ewing, 106 S.Ct. 507, 513 (1985). In the present case, the “accepted academic norms” would

  include the hearing standards and procedures required by the U.S. Department of Education,

  which are incorporated into W&L’s Interim Sexual Harassment and Misconduct Policy and

  which were followed scrupulously.


         Plaintiff’s primary charge is that W&L’s actions with respect to him violated Title IX.

  Courts have recognized that Title IX bars the “imposition of university discipline where gender

  is a motivating factor in the decision to discipline.” See, e.g., Yusuf v. Vassar College, 35 F.3d

  709 (2d Cir. 1994). There are two ways to state a Title IX claim: plaintiff-specific and

  systematic (alleging that the system itself was unfairly stacked against one gender).


         Courts have grouped Title IX claims into four specific categories: 1) erroneous outcome;

  2) selective enforcement; 3) deliberate indifference; and 4) archaic assumptions. Despite the

  particular theory, however, most sexual-misconduct plaintiffs fail to show that the College’s

  actions were motivated by a gender bias.


         In this case, the plaintiff appears to be relying on an “erroneous outcome” theory to

  support his claim. Under this theory, the plaintiff must show that the outcome of the disciplinary

  proceeding was flawed, and that the flawed outcome was due to a gender bias. Yusuf v. Vassar

  College, 35 F.3d at 715. The plaintiff here seems to be claiming that the individual decision-

  makers in his particular case were biased.   Foremost, “[i]n the university setting, a disciplinary

  committee is entitled to a presumption of honesty and integrity, absent a showing of actual bias.”


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  Hill v. Bd. of Trs. of Michigan State Univ., 182 F. Supp. 2d 621, 628 (W.D. Mich. 2001); see

  also Yusuf (supra)(Although “Title IX bars the imposition of university discipline where gender

  is a motivating factor,” Congress did not intend for Title IX “to impair the independence of

  universities in disciplining students.”); Gomes v. Univ. of Maine Syst., 365 F. Supp. 2d 6, 30-31

  (D.Me. 2005) (“Generally, in examining administrative proceedings, the presumption favors the

  administrators, and the burden is upon the party challenging the action to produce evidence

  sufficient to rebut this presumption.”) As such, “[a]lleged prejudice of university hearing bodies

  must be based on more than mere speculation and tenuous inferences.” Gomes, 365 F. Supp. 2d

  at 30. Here, there are no allegations in the complaint that the members of the Student Faculty

  Hearing Board were biased against the plaintiff, and the allegations that the Title IX Coordinator,

  Lauren Kozak, was biased are false, conclusory and will be hotly contested. See, Kozak

  Declaration.


         In the alternative, under the erroneous outcome theory, plaintiff would have to show that

  the college’s “disciplinary procedures governing sexual assault claims are discriminatorily

  applied or motivated by a chauvinistic view of the sexes.” Bleiler v. College of Holy Cross, No.

  11-11541, 2013 WL 4714340, 2013 U.S. Dist. LEXIS 127775 (D. Mass. Aug. 25, 2013). In

  other words, plaintiff must point to statistical evidence to show that male students “are

  historically and systematically and invariably found guilty, regardless of evidence, or lack

  thereof.” Yusuf, 35 F.3d at 715. If plaintiffs rely on this route, however, they must show that

  the college engaged in a “pattern of discriminatory decision-making.” Doe v. Univ. of the South,

  687 F.Supp.2d 744, 756 (E.D. Tenn. 2009). There are no allegations in the complaint that would

  support such a case. In fact, since the fall of 2011, W&L has dismissed one male student (other

  than plaintiff), suspended two male students, found two male students “not responsible” for


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  policy violations and decided not to pursue formal proceedings against other male students due

  to lack of evidence. These statistics are posted on the W&L website. See

  http://www.wlu.edu/student-life/policies-and-guidelines/student-conduct/student-faculty-

  hearing-board/decisions. Clearly, W&L’s policies and its application of those policies has led to

  variable and case-specific outcomes, and are not infused with gender bias against respondents

  such as plaintiff.


          The other three theories under which Title IX claims are brought are asserted less often.

  Under the “selective enforcement” theory, the plaintiff must allege that the college treated a

  person of the opposite gender in similar circumstances more favorably. Doe, 687 F.Supp.2d at

  756. Under the “deliberate indifference” standard, a plaintiff must “demonstrate that an official

  of the institution who had authority to institute corrective measures had actual notice of, and was

  deliberately indifferent to, the [discrimination].” Id. Finally, under the “archaic assumptions”

  standard, a plaintiff seeking equal opportunities has “the burden in establishing that a

  university’s discriminatory actions resulted from classifications based upon archaic assumptions”

  of males and females. The evidence before the court does not support a Title IX claim under any

  of these other approaches.


          In the context of disciplinary cases such as this one, Title IX plaintiffs have rarely

  prevailed. In fact, such claims rarely survive summary judgment. See e.g., Bleiler v. College of

  Holy Cross, No. 11-11541, 2013 WL 4714340, 2013 U.S. Dist. LEXIS 127775 (D. Mass. Aug.

  25, 2013).. In Bleiler, the plaintiff alleged that the college’s procedures—as a whole—were

  inherently biased against men. Specifically, the plaintiff argued that the code of conduct was

  facially discriminatory because it had a “penetration-based rubric” that singled out male students.

  Second, the plaintiff argued that the system was stacked against men because it was a “foregone

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  conclusion” that male students would always be found guilty. The court, however, rejected both

  claims. First, the court found that female students could be found guilty under the code of

  conduct, and, thus, it was not facially discriminatory. Id at *24. Second, the court rejected the

  plaintiff’s claim that conviction was inevitable. Id. Specifically, the court noted that of the last

  six males that faced sexual misconduct charges, two of them were found not responsible. Id.


         In addition to his systematic claims, the plaintiff in Bleiler also lodged an “as-applied”

  challenge. Id at *31. Namely, the plaintiff argued that the college departed from its normal

  procedures—which evidenced a gender bias toward him—and that the school official who made

  the charging decision was biased against males. Id. Addressing the first claim, the court

  reiterated that colleges are “not required to adhere to the standards of due process guaranteed to a

  criminal defendant or to abide by rules of evidence adopted by courts.” Id at 32. Instead,

  colleges must “have broad discretion in determining appropriate sanctions for violations of

  [their] policies.” Id. Further, the court reasoned that even if the college departed from its written

  procedures, those deviations did not support the inference that the administration acted

  discriminatorily. Id at *42. The court also rejected the plaintiff’s claim that the initial charging

  officer was biased, finding that there was no evidence at all to support the claim. Id.


         The evidence before this court will lead it to the same conclusion as the Bleiler court.

  W&L has constructed a fair and gender-bias free system for dealing with sex-based conduct

  among its students, faculty and staff consistent with federal regulations. W&L followed that

  system in this case and, therefore, it is not likely that plaintiff’s case will survive summary

  judgment, much less a trial and subsequent appeal.




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         Plaintiff further grounds his claims in terms of the contractual relationship between

  plaintiff and W&L. In light of the precedent on this issue, plaintiff’s breach of contract claim

  has no merit. Specifically, several courts have found that sexual assault policies and disciplinary

  procedures outlined in student handbooks do not form enforceable contracts, implied or

  otherwise. One court, for example, held that provisions in the student handbook detailing sexual

  assault investigations and disciplinary procedures were “guidelines” and did not “constitute the

  terms of an implied contract [or] contractually guarantee the rights asserted by the Plaintiff.”

  Ruegsegger v. Bd. of Regents of Western New Mexico Univ., 141 N.M. 306, 313-314 (2006).

  As a result, “[e]ven though the Student Handbook sets out a general framework of policies, we

  are not persuaded that the language contractually obligates [the university] to conduct any

  specific type of investigation, to provide support services, or to impose specific discipline.” Id.

  Other courts have reached the same conclusion. See e.g., Cook v. Talladega Coll., 908 F. Supp.

  2d 1214, 1224 (2012) (holding that student handbook was not a binding contract); Guliani v.

  Duke Univ., 2010 WL 1292321 (M.D.N.C. Mar. 30, 2010) (same); Gerald v. Locksley, 785 F.

  Supp. 2d 1074, 1141-1145 (D.N.M. 2011) (same); Mosby-Nickens v. Howard Univ., 864 F.

  Supp. 2d 93, 98-100 (D.D.C. 2012) (same).

         Even if a student handbook can form an enforceable contract, courts have refused to

  enforce these publications where the school expressly disclaims the existence of a contract. In

  Brown v. Rector & Visitors of the Univ. of Va., Civil Action No. 3:07–CV–00030, 2008 WL

  1943956, at *6 (W.D. Va. May 2, 2008), for example, this Court held that the University of

  Virginia was not bound by statements in its graduate handbook.            Specifically, this Court

  reasoned that the handbook—which explicitly disclaimed that it is not to be construed as a

  contract between the student and the University—was “at most, an illusory contract because of



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  the illusory nature of its terms.” Id. As a result, this Court held that the graduate handbook

  failed to form a binding contract under Virginia law. See id. Other courts agree. Abbas v.

  Woleben, Civil No. 3:13–CV–147, 2013 WL 5295672, at *4 (E.D. Va. Sept. 19, 2013) (finding

  that university handbooks and catalogs do not form a contract when the terms are not binding on

  the university); Davis v. George Mason Univ., 395 F.Supp.2d 331, 337 (E.D.Va. 2005) (finding

  university course catalog to be an unenforceable illusory contract because while it purports to

  promise specified performance by the university, the performance is entirely optional because of

  the catalog's disclaimer that it may change its terms or requirements at any time); see also Truell

  v. Regent Univ. School of Law, No. 2:04:cv716, 2006 WL 2076769, at *6-7 (E.D.Va. July 21,

  2006) (same).

         The facts in this case compel the same result. Here, W&L’s student handbook contains

  an explicit disclaimer that the handbook and its attendant policies do not and are not intended to

  form a binding contract between W&L and its students. The handbook states in pertinent part:

         The policies of Washington and Lee University are under continual examination and
         revision. This Student Handbook is not a contract; it merely presents the policies in effect
         at the time of publication and in no way guarantees that the policies will not change. For
         more updated policies and information see www.wlu.edu.

  See: Student Handbook at the introduction http://go.wlu.edu/StudentHandbook. As a result,

  plaintiff’s breach of contract claim fails as a matter of law and cannot provide the basis for a

  preliminary injunction.

         Even were this Court to construe the student handbook as an enforceable contract, such

  claims remain subject to a highly-deferential standard of review. Generally, courts will review

  student contract claims only if arbitrary or capricious institutional action resulted in violation of

  an implied or expressed contractual commitment. In Lucey v. Nevada ex rel. Bd. of Regents of

  Nevada Sys. of Higher Educ., No. 2:07-cv-00658, 2009 WL 971667, at *6 (D. Nev. Apr. 9,

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  2009), for example, the court granted summary judgment on the plaintiff’s breach of contract

  claim arising from a student disciplinary hearing. There, the court first acknowledged that

  “courts should be slow to intrude into the sensitive area of the student-college relationship,

  especially in areas of curriculum and discipline.” Id. at *6 (quoting Gukenberger v. Boston

  Univ., 974 F. Supp. 106, 150 (D. Mass. 1997)). In light of that guiding principle, the court

  acknowledged that it should “take a deferential review of a university’s disciplinary procedures”

  and refrain from “second guess[ing] the professional judgment of the academic decision

  makers.” Id. at *6 (citing Gutzwiller v. Fenik, 860 F.2d 1317 (6th Cir. 1998)). As such, the

  court held that, “[a] court’s review under a breach of contract theory for violations of a

  university’s established disciplinary procures is limited to whether the procedures used were

  arbitrary, capricious, or in bad faith.” Id. at *6. Other courts have reached the same conclusion.

  See e.g., Kraft v. W. Alanson White Psychiatric Foundation, 498A. 2d 1145 (D.Ct. App. 1985);

  Clifton-Davis v. State, 930 P.2d 833 (Okla. App. 1996); Aldridge v. State of New York, 293

  A.D. 2d 941(2002). While plaintiff uses the terms “arbitrary and capricious” in the complaint,

  the facts as alleged and as are before the court do not reflect arbitrary and capricious actions by

  W&L, but rather reflect thorough and legally compliant policies and procedures for dealing with

  sexual misconduct cases, and compliance by University officials with that procedure.

         Plaintiff’s claims rest on a fatally flawed assumption. Throughout his brief in support of

  his motion for a TRO, plaintiff mischaracterizes and overstates the obligations institutions of

  higher education have in the disciplinary context. Courts have stated correctly that, “[a] school

  is an academic institution, not a courtroom or administrative hearing room.” Bd. of Curators v.

  Horowitz, 435 U.S. 78. 88 (1978). Even in the context of public institutions, where

  Constitutional levels of due process are required, “due process requires that appellants have the



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  right to respond; their rights in the academic disciplinary process are not co-extensive with the

  rights of litigants in civil trial or with those of defendants in a criminal trial.” Nash v. Auburn

  Univ., 812 F.2d 655 (11th Cir. 1987); Castle v. Appalachian Tech. Coll., 631 F.3d 1194, 1200

  (11th Cir. 2011) (same). Rather, “courts staunchly resist the suggestion that school discipline

  hearings should emulate criminal trials.” Hammock ex rel. Hammock v. Keys, 93 F.Supp.2d

  1222, 1229 (S.D. Ala. 2000); see also Dixon, 294 F.2d at 159 (a full-dress judicial hearing is not

  required). Thus, “[w]hile a university cannot ignore its duty to treat its students fairly, neither is

  it required to transform its classrooms into courtrooms.” Jaksa v. Regents of the Univ. of Mich.,

  597 F.Supp. 1245 (E.D. Mich. 1984). As the First Circuit succinctly described:


         In fostering and insuring the requirements of due process, however, the courts have not
         and should not require that a fair hearing is one that necessarily must follow the
         traditional common law adversarial method. Rather, on judicial review, the question
         presented is whether, in the particular case, the individual has had an opportunity to
         answer, explain, and defend, and not whether his hearing mirrored a common law
         criminal trial.

         ***

         The Courts ought not to extol form over substance and impose on educational institutions
         all the procedural requirements of a common law criminal trial. The question is not
         whether the hearing was ideal, or whether its procedures could have been better. In all
         cases the inquiry is whether, under the particular circumstances presented, the hearing
         was fair, and accorded the individual the essential elements of due process.

  Gorman v. Univ. of Rhode Island, 837 F.2d 7, 14-16 (1st Cir. 1988). W&L’s policies and

  procedures certainly met and exceeded this standard in every respect.


         In a case similar to the one at bar, the Supreme Judicial Court of Massachusetts reversed

  an appellate court’s decision that had ruled against a university for failure to follow the stated

  procedures outlined in its student conduct code in disciplining an undergraduate student. Schaer

  v. Brandeis University, 432 Mass. 474, 735 N.E.2d 373 (Mass. 2000). The University Board on


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  Student Conduct had found an undergraduate at Brandeis, a private institution, guilty of violating

  several provisions of the student handbook after engaging in a sexual encounter with a female

  student. 735 N.E.2d at 376. The student argued that the encounter was consensual and that he

  was not interviewed prior to his hearing, a requirement clearly stated in university policy as part

  of the judicial process. Id at 377. Also, the student alleged that the hearing was not properly

  recorded and was not conducted in strict compliance with the institution’s student code. Id. The

  student was suspended for three months and ordered to serve probation for his remaining tenure

  at the university. Id at 376. His university appeal of the decision was denied, and he filed suit for

  injunctive relief. The lower court dismissed his complaint on the grounds that he did not state a

  claim for which relief could be granted. Id. A state appeals court determined that the lower court

  has erred in dismissing the student’s claim and ruled that the university failed to follow the

  disciplinary procedures outlined in its student code. Id. The Supreme Judicial Court of

  Massachusetts disagreed with the lower appellate court, and affirmed the ruling of the trial court.

  Id. The court found that the student had failed to state a claim on which relief could be granted.

  Id. The state high court’s decision emphasized that the judiciary is “chary about interfering with

  academic disciplinary decisions made by private colleges and universities.” Id. at 381. The court

  further stated that “A university is not required to adhere to the standards of due process

  guaranteed to criminal defendants or to abide by rules of evidence adopted by courts.” Id. The

  court concluded that institutions of higher learning must have broad discretion in the

  construction of appropriate disciplinary sanctions and that while a university should adhere to its

  stated policies, the student failed to produce sufficient evidence of a material breach. Id.


         In the instant case, plaintiff’s objections to W&L’s procedures have no merit. On the

  question of direct cross-examination as an aspect of due process, for example, courts have


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  commented that the right to “cross-examination in the context of school discipline is a murky

  area of constitutional law.” Wolski v. Orange County School Bd., 2014 WL 2612043, *5 (M.D.

  Fla. June 11, 2014). Courts including the Fourth Circuit Court of Appeals have held that cross-

  examination of witnesses is not usually required in the university disciplinary context. See e.g.,

  Tellefsen v. Univ. Of North Carolina, 877 F.2d 60 (4th Cir. 1989) (“The right to cross-examine

  is not constitutionally required if the accused is present when his accuser testifies and the

  accused has the opportunity to present his own witnesses and evidence.”); Nash v. Auburn

  University, 812 F.2d 665, 664 (11th Cir. 1987); see also Craig v. Selma City School Bd., 801 F.

  Supp. 585, 593 (S.D. Ala. 1992) (“[Courts] ha[ve] made clear that a student has no constitutional

  right to cross-examine witnesses at an expulsion hearing.”); Oliver v. Bd. of Regents Univ. of

  Ga., 2008 WL 2302686, *7 (M.D. Ga. May 30, 2008) (“[I]n the context of a student disciplinary

  proceeding, the constitutionally-required opportunity to be heard did not need to rise to the level

  of a full-dress judicial hearing, with the right to cross-examine witnesses.”). Again, it must also

  be noted that in the context of a private institution, the Constitution does not define the level of

  due process required, but W&L asserts that its procedures provide fundamental fairness and an

  opportunity for both sides to present their respective cases that would satisfy even an enhanced

  Constitutional standard of due process.


         Specifically in the context of the Department of Education’s interpretation of Title IX

  regulations, the Department of Education “strongly discourages schools from allowing the

  parties personally to question or cross-examine each other during the hearing.” See, Dear

  Colleague Letter, attached as Exhibit 2. “Allowing an alleged perpetrator to question an alleged

  victim directly may be traumatic or intimidating, thereby possibly escalating or perpetuating a

  hostile environment.” Id.


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          Finally, plaintiff will not prevail on his negligence claim. To support a negligence claim

  under Virginia law, “there must be a legal duty, a breach thereof, and a consequent injury which

  could have been reasonably foreseen by the exercise of reasonable care and prudence.” Jordan v.

  Jordan, 220 Va. 160, 162, (1979). Plaintiff, however, has failed to articulate what—if any—duty

  W&L owes him. As the court noted in McFadyen v. Duke Univ., “the university-student

  relationship does not impose an actionable duty of care on administrators or advisors in the

  discharge of their academic functions.” McFayden, 786 F. Supp. 2d 887, 998 (M.D.N.C. 2011),

  rev’d in part on other grounds, 703 F.3d 636 (4th Cir. 2012). To that effect, courts have

  dismissed negligence claims where—like here—the plaintiff does not articulate a particularized

  standard of care or provide the legal authority from which the purported legal duty arises. See

  e.g., Keerikkattil v. Hrabowsi, Civil Action WMN-12-2016, 2013 WL 5368744, *9 (D. Md.

  Sept. 23, 2013) (dismissing negligence action where the plaintiff failed to allege a specific

  standard of care during misconduct hearings, holding, inter alia, that purported violations of Title

  IX cannot form the basis of a negligence action); DeCecco v. Univ. of South Carolina, 918 F.

  Supp. 2d 471, 502 (D.S.C. 2013) (dismissing negligence claim against university because the

  plaintiff failed to articulate the university’s legal standard of care in sexual assault

  investigations). As such, plaintiff has failed to plead a negligence claim that will survive a

  motion to dismiss, much less ultimately prevail at trial.


          Assuming that plaintiff has alleged a legally cognizable duty, plaintiff merely repackages

  his breach of contract and Title IX claims as a negligence claim. Complaint ¶ 145-147. For the

  reasons stated above, however, plaintiff has failed to allege any facts to support his claims that

  W&L breached any such duty by acting in a bias manner, holding sex discriminatory animus, or

  acting in an arbitrary or capricious manner. As such, plaintiff’s negligence claim must also fail.


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  See e.g., Gomes, 365 F. Supp. 2d at 43-44 (noting that the plaintiff’s negligence claim was

  subsumed by his due process challenge).


         C. Plaintiff Will Not Suffer Irreparable Harm Without Injunctive Relief


         Plaintiff alleges that he will suffer irreparable injury if the preliminary injunction is not

  granted. Plaintiff must make a “clear showing” that he will suffer irreparable harm if the court

  denies his request. Direx Isreal, Ltd. v. Breakthrough Medical Corp., 952 F.2d 802, 811 (4th Cir.

  1991). “The key word in this consideration is ‘irreparable.’ Mere injuries, however, substantial,

  in terms of money, time and energy necessarily expended in the absence of an injunction, are not

  enough. The possibility that adequate compensatory or other corrective relief will be available at

  a later date, in the ordinary course of litigation, weighs heavily against a claim of irreparable

  harm.” Weathers v. Univ. of N.C. at Chapel Hill, No. 1:08-cv-847, 2008 WL 5110952, *3

  (M.D.N.C. Dec. 4, 2008) (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)).


         Here, plaintiff will suffer at most a delay in his education, not a deprivation of his

  education if he ultimately prevails, so there is no irreparable injury. Courts have regularly denied

  preliminary injunctive relief against colleges and universities by plaintiff students seeking

  admission or readmission, finding no irreparable harm as a matter of law. Most importantly,

  courts have found that the mere delay in education is not a sufficient showing of irreparable

  injury. In B.P.C. v. Temple Univ., Civil Action No. 13-7595, 2014 WL 4632462, *4 (E.D. Pa.

  Sept. 16, 2014), for example, the court held that a delay in educational services failed to

  constitute irreparable injury. Similar to this case, the plaintiff in Temple Univ. alleged that a

  pending expulsion would cause him to “lose his right to a higher education” and “affect his

  future well-being.” Id. at *6. The court, however, rejected the plaintiff in Temple Univ.’s


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  argument, holding that, “if he is successful in this litigation, a possible remedy is reinstatement at

  Temple.” Id. As a result, “because Plaintiff's loss of an education can be remedied by the instant

  lawsuit, Plaintiff fails to establish irreparable harm.” Id. * 6 (citing Mahmood v. Nat'l Bd. of

  Med. Examiners, No. 12–1544, 2012 U.S. Dist. LEXIS 156477, at *15, 2012 WL 5364689

  (E.D.Pa. Oct. 31, 2012); Marsh v. Del. State. Univ., No. 05–00087, 2007 U.S. Dist. LEXIS

  10544, at *18, 2007 WL 521812 (D.Del. Feb. 15, 2007)).


         Other courts have reached similar conclusions. See e.g., Spadone v. McHuge, 842 F.

  Supp. 2d 295, 302 (D.D.C. 2012) (holding that a delay in completing courses at West Point does

  not constitute irreparable harm); Martin v. Helstead, 699 F.2d 387 (7th Cir. 1983) (delay in

  obtaining admission to graduate school did not constitute an irreparable injury for a 38-year-old,

  and threatened injury to applicant paled before the threatened injury to the law school and public

  if unsuitable candidates were forced to be readmitted); Donnelly v. Boston Coll., 401 F.Supp. 1,

  4 (D. Mass. 1975) aff’d., 558 F.2d 634, (1st Cir. 1977) cert. denied 434 U.S. 987 (1975)

  (mandatory injunction on the basis of conclusory allegations not available); Timmerman v. Univ.

  of Toledo, 421 F.Supp. 464, 466 (N.D. Ohio 1976); Sill v. Pennsylvania State Univ., 315 F.Supp.

  125, 129 (M.D. PA 1970); Doe v. New York Univ., 666 F.2d 761, 773 (2d Cir. 1981); Fruth v.

  New York Univ., 2 AD Cases 1197 (1993) (delay of one year in attending academic program not

  irreparable injury).


         D. The Balance of Equities Weighs in Favor of W&L


         Plaintiff’s brief argues that the equities weigh in his favor because there is no harm to

  W&L in allowing him to return to school and that plaintiff has already completed the class work

  for the past semester. These arguments have no merit. In fact, there will be significant harm to


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  W&L if plaintiff is permitted to return to school and receive credit for the classes that he only

  partially completed this past semester.

         Academic integrity and the integrity of W&L’s internal disciplinary process are at the

  heart of W&L’s educational mission. The academic integrity of W&L will be harmed by

  allowing plaintiff to return to school and complete the work for his fall classes because plaintiff

  did not meet the requirements for receiving passing grades for these classes, even if he is

  permitted to take his final exams. Even before plaintiff’s SFHB hearing, plaintiff had fallen

  behind significantly in his classwork. Specifically, it should be noted that at the point plaintiff

  was notified of the initial charge of a potential violation of W&L’s Sexual Harassment and

  Misconduct Policy – and several weeks before the finding of responsibility -- he unilaterally

  decided to stop attending one or more of his classes. Plaintiff’s decision to stop attending his

  classes resulted in him missing many assignments and other periods of classroom instruction.

  The missed classes, assignments, and other factors have all contributed to plaintiff’s failure to

  meet the requirements of his fall term courses. Even if plaintiff was permitted to complete his

  final exams, his failure to attend classes and complete assignments between the time that he was

  initially charged under W&L’s disciplinary process and the time he was found responsible would

  preclude him from receiving passing grades absent special accommodations.

         To provide plaintiff with special accommodations for the consequences of his own

  decision to stop attending certain of his classes would undermine W&L’s academic integrity,

  which is at the heart of W&L’s educational mission. W&L should not be forced compromise its

  academic integrity by making special accommodations for an individual’s choice to not complete

  the requirements of his or her classes.




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         With respect to the integrity of its disciplinary processes, W&L is entitled to have its

  policies and procedures respected and upheld by this court unless and until the court has made a

  determination, following a full hearing on the merits at trial, that W&L has violated plaintiff’s

  legal rights. Anything less than that says to the entire higher education world that procedures

  like W&L’s, developed and applied in accordance with the Department of Education guidance

  and for the safety and well-being of its students, faculty and staff, are flawed, and any individual

  who makes a complaint of sexual misconduct not only will have to endure a hearing and an

  appeal on campus, but then will be subjected to all of the intrusions of being a material witness

  in a federal court trial. Unless and until that trial has occurred, W&L and its administration and

  students are entitled to the knowledge and assurance that the policies and procedures that have

  been developed by trained individuals in compliance with the current legal standards will be free

  from judicial interference until the court has a complete record before it and finds actual

  wrongdoing as opposed to mere self-serving allegations of bias and misconduct. If plaintiff is

  permitted to return to W&L pending an outcome at trial, filing a lawsuit in federal court would

  seem to be the logical next steps in any case where an individual is dismissed from a university,

  which would completely undermine the internal disciplinary processes of all colleges and

  universities and deter complainants from bringing complaints as any internal remedy granted

  would, as a practical matter, be delayed until a full trial on the merits has been concluded in

  federal court.

         For the reasons set for the above, and in order to protect the academic integrity and the

  integrity of the internal disciplinary processes of all colleges and universities, including W&L,

  the court must find that the balance of equities, particularly in this case, weigh in favor of W&L.




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          E. The Public Interest Weighs in Favor of Denying an Injunction

          The public interest lies in supporting colleges and universities in their efforts to create

  gender neutral and mutually respectful policies and procedures, and to remove from campus

  those who fail to abide by those policies. It does not lie in a court reversing a thorough

  investigation, and a fair hearing and appeal, the first moment an expelled student runs to it and

  demands to be reinstated without putting his or her case to the scrutiny of discovery, summary

  judgment and trial. Additionally, the public interest lies in courts maintaining a posture of

  deference to professional higher education administrators who are trained in their fields, and who

  understand the dynamics of their particular institutional communities and in courts not

  interfering with universities that are trying to create and maintain safe and secure environments

  for all students.

          For the reasons set forth in this Memorandum of Law in Opposition to Plaintiff’s Motion

  for Preliminary Injunction, the Motion for a Preliminary Injunction should be denied.



                                         Respectfully submitted,

                                         WASHINGTON AND LEE UNIVERSITY
                                         By Counsel

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                                            CERTIFICATE



         I hereby certify that a true copy of the foregoing Memorandum of Law in Opposition to

  Plaintiff’s Motion for Preliminary Injunction was electronically filed in the courts CM/ECF

  system and sent to Andrew T. Miltenberg and Kimberly C. Lau, Nesenoff & Miltenberg, counsel

  for Plaintiff, by electronic mail this 9th day of January, 2015.




                                                 <R.Craig Wood>
                                                 R. Craig Wood




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